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Douglas M. McGeary, OSB # 880793
2 N. Oakdale Ave.
Medford.OR 97501
541-779-4647
541-734-7269 fax
doug@douglasmmcgeary. corn
Attorney for Defendant



                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF OREGON
                                       MEDFORD DIVISION

 G. SMITH, Civil No. 1:17-CV00712-CL
                 Plaintiff
                                                        DEFENDANT'S FED R. CIV. P. 12
 v. MOTION TO STRIKE ADDED CLAIMS
                            TO PLAINTIFF'S AMENDED
 JILL LIMERICK, COMPLAINT; MAKE FOR DEFFNITE;
         Defendant. AND MOTION TO DISMISS FOR
                            FAILURE TO STATE A CLAIM.
                                                        Request for Oral Argument




        Pursuant to LR 7-1, counsel for defendant certifies that good-faith effort to confer with


plaintiff pro se regarding the issues raised in these motions is problematic. Defense counsel's


past attempts and experience with plaintiff to confer on similar legal matters have failed and like


the court, correspondence is typically returned thus the parties have been unable to resolve the


issues. It is defense counsel's good faith belief that the parties will be unable to resolve the issues


raised in these motions without the assistance of the Court.


        1. Pursuant to FRCP Rule 12(f) and FRCP 15, defendant moves the court for an

order striking Plaintiffs new claims as they are outside the court's order to amend the complaint


and Plaintiff failed to confer with opposing counsel before adding these claims.




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       2. Pursuant to FRCP 12(e), defendant moves the court for an order for plaintiff to


make a more definite statement in order to allege a claim of fraudulent misrepresentation and


conspiracy to defraud, and Plaintiffs additional claims of Abuse of Process, False Imprisonment,


Negligent Misrepresentation, Defamation Per Se and Conspiracy to Defame.


       3. Pursuant to FRCP 12(b)(6), defendant moves the court for an order dismissing

plaintiffs third though ninth cause of actions because plaintiff has failed to state a claim upon

which relief can be granted.


POINTS AND AUTHORITIES
Memorandum in Support of Defendant's FRCP 12 Motions
FRCPRulel2(f)
FRCPRulel5
Kelly v. McBarron, 258 Or. 149, 154, 482 P.2d 187 (1971)
Stone v. 7(wwr^l820rApp452,50P3dU79, 1185 (2002) (Citing to Buckeh^Nww, 133
Or.App. 399, 405, 891 P.2d 16 (1995), quoting Walker v. City of Portland, 71 OrApp. 693, 697,
693 P.2d 1349 (1985)
Hiber v. Creditors Collection Service, 154 Or.App. 408, 413, 961 P.2d 898, rev. den. 327 Or.
621,971 P.2d 413 (1998)
FRCP 9(b)
Comelman v N. W.P. & D. Prod Co., 190 Or 332, 350, 225 P2d 757 (1950)
Musgrave v. Lucas, 193 Or 401, 410, 238 P2d 780 (1951)
Restatement fSecond) of Torts §559 (1977)
Brown v. Gat/f, 341 Or 452, 458, 145 P3d 130 (2006),
Wallulis v. Dymowskj, 323 Or 337, 342B343, 918 P2d 755 (1996)
Bonds v. Landers, 279 Or. 169, 174, 566 P.2d 513 (1977)
FRCP12(b)(6)

Dated this 10th day of December, 2018.
                                                               1^
                                                     -Douglas )^.~McGeary,0^# 880793
                                                      2 N. 'Qakdlale Ave.
                                                      Medford, OR 97501
                                                      541-779-4647
                                                      541-734-7269 fax
                                                      doug@douglasmmcgeary.com
                                                      Attorney for Defendants




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Douglas M. McGeary, OSB # 880793
2 N. Oakdale Ave.
Medford,OR 97501
541-779-4647
541-734-7269 fax
doug@douglasmmcgeary. corn
Attorney for Defendant



                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                      MEDFORD DIVISION

 G. SMITH,                                            Civil No. 1:17-CV00712-CL
                Plaintiff

 V.                                                   MEMORANDUM IN SUPPORT OF
                                                      DEFENDANT'S FED. R. CIV. P. 12
 JILL LIMERICK,                                       MOTIONS TO AMEND SECOND
                Defendant.                            AMENDED COMPLAINT
                                                 I.



                                     MOTION TO STRIKE
                                 FRCP 12(f) Impertinent Matter

       1. FRCP Rule 15 allows a party to amend ". . .its pleading only with the opposing


party s written consent or the court's leave. The Court s order (09/26/18) gave Plaintiff leave to

amend the complaint as to claims of fraud and conspiracy to defraud. Plaintiff did not seek


defendant's consent or the court's leave to add counts 3-5 and 7, 8, all of which are separate and


distinct claims from the original complaint. These matters are impertinent to what the court


granted in its order and should therefore be struck from the complaint.



                                                II.
                     MOTION FOR MORE DEFINITE STATEMENT


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                                             FRCP 12(e)
        2. In the alternative, and without waiving the foregoing motion, Defendant moves


the court for an order that Plaintiff make Counts 3-9 more definite.



                                  POINTS AND AUTHORITIES
        3. In Plaintiffs third claim, Abuse of Process, the facts alleged bear no relation or


connection to meaning of abuse of process and a cause of action. Abuse of process is "the


perversion of legal procedure to accomplish an ulterior purpose when the procedure is


commenced in proper form and with probable cause." Kelly v. McBarron, 258 Or. 149, 154, 482


P.2d 187 (1971). Plaintiff fails to describe what legal procedure is even implicated in

circumstances stated within her claim. Plaintiffs third claim needs to be more definite in order


for Defendant to respond.


       4 In Plaintiff s fourth claim, False Imprisomnent, the facts described do not support

what is otherwise a legal definition of false imprisonment, which is '"the unlawful imposition of


restraint on another's freedom of movement.'" Stone v. Finnertv, 182 Or App 452, 50 P3d 1 179,


1185 (2002) (Citing to Buckel v. Nunn, 133 Or.App. 399, 405, 891 P.2d 16 (1995), quoting

Walker v. City of Portland, 71 Or.App. 693, 697, 693 P.2d 1349 (1985). The Sfonecom'i states

that to establish such a claim, "(I) [the] defendant must confine [the] plaintiff; (2) [the] defendant

must intend the act that causes the confinement; (3) [the] plaintiff must be aware of the

confinement; and (4) the confinement must be unlawful." Hiber v. Creditors Collection Service,


154 Or.App. 408, 413, 961 P.2d 898, rev. den. 327 Or. 621, 971 P.2d 413 (1998)" Id.

Plaintiffs descriptions of the circumstances of her location and who was there does not establish


that she or anyone else was under arrest or prevented from leaving much less why a reasonable




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person would think they were confined. Therefore the Plaintiffs fourth claim needs to be more


definite in order for Defendant to respond.


        5. Plaintiffs fifth claim. Negligent Misrepresentation, states that Defendant and


Plaintiff discussed some unintelligible description of the suitability of the premises for rent and

then simply alleges that it did not fit such a description and that Defendant knew it without

identifying how the premises did not fit the description or when this non" suitability was supposed


to have occurred. Plaintiffs fifth claim needs to be more definite or should be dismissed.


        6. In Plaintiffs sixth cause of action in her second amended complaint, Fraudulent


Misrepresentation, obviously related to her claim of fraud in Plaintiffs original and first


amended complaint, she once again fails to allege facts that support a claim of fraud.


        Pursuant to FRCP 9(b),

        "[i]n alleging fraud or mistake, a party must state with particularity the circumstances
        constituting fraud or mistake. Malice, intent, knowledge and other conditions of a
        persons's mind may be alleged generally."


The elements of actual fraud require 1) a representation, 2) it's falsity, 3) its materiality, 4) the

speaker's knowledge of its falsify, 5) the speaker's intent that the listener act upon the


representation, 6) the listener believed it true, 7) the listener relied on its truth, 8) the listener's

right to rely on its truth, and 9) that reliance resulted in damage to the listener. Conzelman v


N.W.P. & D. Prod Co.. 190 Or 332, 350, 225 P2d 757 (1950); Musgrave v. Lucas. 193 Or 401,


410,238 P2d 780 (1951). Plaintiff claims that she called Defendant to claim that she (Plaintiff)

was locked out of her house. Plaintiff then admits that such a claim was false and Defendant

knew it. (Second Amended Compl. ^54) This is a contradiction that makes no sense unless true,


in which case the Plaintiff alleges a complete defense and the matter should be dismissed.


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        7. Plaintiff goes on to describe the Defendant's state of mind and intentions without


explaining how she would know what Defendant was thinking without some ultimate fact or


objective evidence to indicate or imply what the Defendant was thinking. (Second Amended

Compl. ^[54)

        8. The rest of the following paragraphs in Plaintiffs sixth cause of action are


similarly disjointed. Plaintiff suggests, for instance, that a police officer was intending to arrest


the Plaintiff based upon what the Defendant told the officer. She provides no evidence of what

the Defendant told the officer or in what context the officer of his office was called to be present


at her location or to stand by. There is no evidence of what the officer said to the Plaintiff or


anyone else. The only fact that Is apparent is that the Plaintiff was never arrested. Plaintiffs


rambling of allegations appear as creations she has conjured up in her mind without evidence that


the officer actually intended to stop much less arrest the Plaintiff. (Second Amended Compl.

^56) Every paragraph intended to support Plaintiffs sixth cause of action is so vague or

ambiguous that the Defendant cannot reasonably prepare a response.


       9. In Plaintiffs final four paragraphs in her sixth claim, ^64-67, Plaintiff alleges a

misrepresentation is material to her injury without ever definitely explaining what was


misrepresented. Plaintiff follows in these final paragraphs to describe how persons on social


media and "countless individuals" relied upon some undefined misrepresentation as material to


her injury. These assertions throughout Plaintiffs sixth claim are so vague and general that


Defendant can not respond. Therefore the Defendant moves the court to order plaintiff to make


her claim more definite.


       10. Plaintiffs seventh and eighth claims pertain to defamation. Defamation, under



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Oregon law, requires the defendant to communicate a false and defamatory fact about the


defendant to a third person and that such communication injured the party. Restatement


CSecond) of Torts §559 fl977); Brown v. Gatti, 341 Or 452, 458, 145 P3d 130 (2006\_tMMlsjL

Dvmowski, 323 Or 337, 342B343, 918 P2d 755 (1996). Plaintiffs claims contains no evidence as

to the contents of any communication Defendant was supposed to have made, what was false


about these purported statements, when these statements were supposed to have been made, nor


does either claim indicate how Plaintiff was injured. Therefore the Defendant moves the court to


order plaintiff to make her seventh and eighth claims more definite.


       11. In Plaintiffs eight and ninth claim in her second amended complaint, she alleges
conspiracy to defame and to defraud respectively. Defendant restates its sixth through tenth
paragraphs above. Under Oregon law, the elements of a civil conspiracy are:


       "(I) Two or more persons * * *; (2) an object to be accomplished; (3) a meeting of minds
       on the object or course of action; (4) one or more unlawful overt acts; and (5) damages as
       the proximate result thereof." Bonds v. Landers, 279 Or. 169, 174, 566 P.2d 513 (1977)


(citations omitted). Plaintiff fails to indicate in her second amended complaint how these

individual defendants were supposed to know each other, and, under either claim, what they were


agreeing to do or why. There is nothing in plaintiffs claims describing any incentive the


defendants may have had in order to come to a meeting of the minds to commit these wrongs as


Plaintiff claims. Without any substance to the Plaintiffs claims, the Defendant can not


adequately respond to the complaint. Therefore the Defendant moves the court to order plaintiff


to make her eighth and ninth claims more definite.


                                               HI.


                                    MOTION TO DISMISS
                             FRCP 12(b)(6) Failure to State a Claim



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        12. In the alternative, and without waiving the foregoing motion, pursuant to FRCP


12(b)(6), defendant moves the court for an order dismissing plaintiffs sixth (Fraudulent

Misrepresentation) and ninth (Conspiracy to Defraud) cause of actions because Plaintiff has


failed to state a claim.


                                  POINTS AND AUTHORITIES

        13. Defendant restates paragraphs 6-8 and 11 above.


        14. This is Plaintiffs third attempt to plead fraud as a cause of actions and with each

attempt it is ever more obvious as to the absence of evidence with regard to falsity, materiality


and therefore the speakers knowledge of falsify. The claim of fraud is simply not applicable in

this case. Consequently, Plaintiff fails to establish civil conspiracy by Defendant to commit


fraud. Once again having opportunity to conform her pleadings, Plaintiff can not (because she


can not) allege a claim of fraud or conspiracy to defraud that can be supported according to


Oregon legal doctrine, Conzelman at 190 Or 332. 350 and Musgrave, 193 Or at 410, and as


required under FRCP 9(b). Because Plaintiff can not state a claim of fraud or conspiracy to

defraud under Oregon law, plaintiffs sixth and ninth cause of actions should be dismissed.


                                     MOTION TO DISMISS
                             FRCP 12(b)(6) Failure to State a Claim

        15. In the alternative, and without waiving the foregoing motion, pursuant to FRCP


12(b)(6), defendant moves the court for an order dismissing plaintiffs sixth (Fraudulent

Misrepresentation) and ninth (Conspiracy to Defraud) cause of actions because Plaintiff has

failed to state a claim.


                                 POINTS AND AUTHORITIES



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        16. Defendant restates paragraphs 1 - 5 and 9-11.


        17. Plaintiff simply added new claims in her second amended complaint without

conferring with opposing counsel nor having leave of the court. FRCP 12(f)


        18. Furthermore, allegation in each of the Plaintiffs additional claims, Claim 3


(Abuse of Process), Claim 4 (False Imprisonment), Claim 5 (Negligent Misrepresentation),

Claim 7 (Defamation Per Se) and Claim 8 (Conspiracy to Defame), lack elements necessary to


support such claims or are so unintelligible that it is apparent that the facts do not exist to support


the elements of the claims. Therefore, these additional claims should be dismissed.


       Dated this 10th day of December, 2018.


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                                                       bfmglas \1. McGeaiy, o!
                                                       2 N. Qakcjale Ave.
                                                       MedforcfOR 97501
                                                       541-779-4647
                                                       541-734-7269 fax
                                                       doug@douglasmmcgeary.com
                                                       Attorney for Defendants




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                                    CERTIFICATE OF SERVICE

I certify that on December 10, 2018,1 served a true copies of this DEFENDANT'S FRCP 1 2 MOTION
TO DISMISS PLAINTIFF'S AMENDED COMPLAINT on:
 G. Smith
 55 Willow Way
 Sedona,AZ86336
 Plaintiff pro se


By United States Postal Service, addressed to the named plaintiff, or by causing to hand-delivered to that
same address an exact copy thereof, or by faxing an exactsppy to his or her last know facsimile number.




                                                                   ^[. McGeary, OE   # 880793
                                                         2 N. (^akdale Ave.
                                                         Medford, OR 97501
                                                         541-779-4647
                                                         541-734-7269 fax
                                                         doug@douglasmmcgeary.com
                                                         Attorney for Defendants
